                                                            Case 21-10315                                    Doc 3-4                     Filed 03/13/21 Entered 03/13/21 21:13:50                                                                              Desc Exhibit D
                                                                                                                                               Budget Page 1 of 1

Shamrock Rolling Cashflow
                                             Week #            Actual               1              2              3             4             5             6            7              8              9              10             11             12             13
                                          Week Ended         03/13/2021        03/20/2021     03/27/2021     04/03/2021    04/10/2021    04/17/2021    04/24/2021    05/01/2021     05/08/2021     05/15/2021     05/22/2021     05/29/2021     06/05/2021     06/12/2021

               Beginning Dealer Receivable (ACTIVE)            9,233,866        9,500,934      9,630,934      9,735,934     9,715,934     9,620,934     9,550,934      9,480,934      9,435,934      9,390,934      9,345,934      9,300,934      9,280,934     9,210,934
                                          Advances             1,129,141        1,000,000      1,000,000        900,000       850,000       800,000       775,000        750,000        750,000        725,000        700,000        700,000        650,000       650,000     10,250,000
                    Payments/Application of Reserve             (867,472)        (875,000)      (900,000)      (925,000)     (950,000)     (875,000)     (850,000)      (800,000)      (800,000)      (775,000)      (750,000)      (725,000)      (725,000)     (700,000)   (10,650,000)
                                               NSFs                5,399            5,000          5,000          5,000         5,000         5,000         5,000          5,000          5,000          5,000          5,000          5,000          5,000         5,000
                    Charge-Offs/Move to Collections
                  Ending Dealer Receivable (ACTIVE)            9,500,934        9,630,934      9,735,934      9,715,934     9,620,934     9,550,934     9,480,934      9,435,934      9,390,934      9,345,934      9,300,934      9,280,934      9,210,934     9,165,934

        Beginning Dealer Interest & Fees Receivable               84,088           88,621         92,129         95,685        99,280       102,867       106,420       109,946        113,447         116,931        120,398        123,849        127,283       130,710
  24.0%                                    Invoices               47,065           43,850         44,450         44,935        44,843        44,404        44,081        43,758         43,550          43,343         43,135         42,927         42,835        42,512
 102.0%                                   Payments               (46,965)         (44,727)       (45,339)       (45,834)      (45,740)      (45,292)      (44,963)      (44,633)       (44,421)        (44,210)       (43,998)       (43,786)       (43,692)      (43,362)
  10.0%                                        NSFs                4,433            4,385          4,445          4,494         4,484         4,440         4,408         4,376          4,355           4,334          4,314          4,293          4,284         4,251
          Ending Dealer Interest & Fees Receivable                88,621           92,129         95,685         99,280       102,867       106,420       109,946       113,447        116,931         120,398        123,849        127,283        130,710       134,111

            Beginning Dealer Receivable (Collection)           2,985,453        2,980,861      2,980,361      2,979,861     2,979,361     2,978,861     2,978,361      2,977,861      2,977,361      2,976,861      2,976,361      2,975,861      2,975,361     2,974,861
                        New Collection Receivables
                   Payments/Application of Reserve                (4,592)            (500)          (500)          (500)         (500)         (500)         (500)          (500)          (500)          (500)          (500)          (500)          (500)         (500)
                                       Charge-Offs
              Ending Dealer Receivable (Collection)            2,980,861        2,980,361      2,979,861      2,979,361     2,978,861     2,978,361     2,977,861      2,977,361      2,976,861      2,976,361      2,975,861      2,975,361      2,974,861     2,974,361

                                                               Actual               1              2              3             4             5             6            7              8              9              10             11             12             13
                                          Week Ended         03/13/2021        03/20/2021     03/27/2021     04/03/2021    04/10/2021    04/17/2021    04/24/2021    05/01/2021     05/08/2021     05/15/2021     05/22/2021     05/29/2021     06/05/2021     06/12/2021

                                       Beginning Cash           767,757           377,614        276,337        200,472       240,256       364,208       463,056       562,406        597,520         670,284        744,155        817,635        851,973       948,677

                               Payments from Dealers             903,229           920,227        945,839       971,334       996,240       920,792       895,463        845,133        844,921        819,710        794,498        769,286        769,192       743,862
                                       Redeposit NSF               2,134             2,500          2,500         2,500         2,500         2,500         2,500          2,500          2,500          2,500          2,500          2,500          2,500         2,500
                            Payments for Cars Floored         (1,129,245)       (1,000,000)    (1,000,000)     (900,000)     (850,000)     (800,000)     (775,000)      (750,000)      (750,000)      (725,000)      (700,000)      (700,000)      (650,000)     (650,000)
                                                 NSFs            (12,979)          (10,000)       (10,000)       (9,494)       (9,484)       (9,440)       (9,408)        (9,376)        (9,355)        (9,334)        (9,314)        (9,293)        (9,284)       (9,251)

                       Cash Available for Operations            530,896           290,341        214,676        264,812       379,511       478,060       576,610       650,663        685,587         758,159        831,839        880,128        964,382     1,035,788

                                                Payroll           (8,235)           (9,500)        (9,500)       (9,500)       (9,500)       (9,500)       (9,500)        (9,500)        (9,500)        (9,500)        (9,500)        (9,500)        (9,500)       (9,500)
                                   Employee Benefits                (697)                                          (700)                                                    (700)                                                       (700)
                               Payroll Processing Fees               (80)              (80)           (80)          (80)          (80)          (80)          (80)           (80)           (80)           (80)           (80)           (80)           (80)          (80)
                                   Payroll & Benefits             (9,011)           (9,580)        (9,580)      (10,280)       (9,580)       (9,580)       (9,580)       (10,280)        (9,580)        (9,580)        (9,580)       (10,280)        (9,580)       (9,580)

                               Repossession Expense                                 (2,500)        (2,500)       (2,500)       (2,500)       (2,500)       (2,500)        (2,500)        (2,500)        (2,500)        (2,500)        (2,500)        (2,500)       (2,500)
                                   Legal (Collections)                                (500)          (500)         (500)         (500)         (500)         (500)          (500)          (500)          (500)          (500)          (500)          (500)         (500)
                     Collection & Recovery Expenses                  -              (3,000)        (3,000)       (3,000)       (3,000)       (3,000)       (3,000)        (3,000)        (3,000)        (3,000)        (3,000)        (3,000)        (3,000)       (3,000)

                        Advertising & Marketing Exp
                                        Auto Expense                     (3)         (150)          (150)          (150)         (150)         (150)         (150)          (150)          (150)          (150)          (150)          (150)          (150)         (150)
                                  Business Insurance
                                            Bank Fees                                                               (50)                                                     (50)                                                                       (50)
                               Dues & Subscriptions               (1,027)            (500)          (500)          (500)         (500)         (500)         (500)          (500)          (500)          (500)          (500)          (500)          (500)         (500)
                                        Lease-Vehicle             (1,368)                                                        (598)                                                     (598)                                                       (598)
                                        Meal Expense                                   (50)                                                     (50)                                                       (50)                                                        -50
                                     Hosting Expense                                                               (352)                                                    (352)                                                                      (352)
                            Software & Technology                                                   (600)                        (600)                       (600)                         (600)                         (600)                         (600)
                                           Telephone                (494)                                                        (500)                                                     (500)                                                       (500)
                                           Cell Phone                                (250)                                                     (250)                                                      (250)                                                      (250)
                                                Utilities                            (100)                                                     (100)                                                      (100)                                                      (100)
                                   Professional Fees            (138,804)                                        (4,000)                                                  (8,000)                                                     (8,000)
                                     Consulting Fees                (115)                                          (500)                                                    (500)                                                       (500)
                                       Office Expense                                                              (600)                                                    (600)                                                       (600)
                                  Postage & Delivery              (1,346)                                        (1,250)                                                  (1,250)                                                     (1,250)
                                           Rent/Lease                                                            (3,500)                                                  (3,500)                                                     (3,500)
                                Facility Maintenance                (358)             (50)           (50)           (50)          (50)          (50)          (50)           (50)           (50)           (50)           (50)           (50)           (50)          (50)
                                            Filing Fees                              (150)          (150)          (150)         (150)         (150)         (150)          (150)          (150)          (150)          (150)          (150)          (150)         (150)
                                             Title Fees                               (75)           (75)           (75)          (75)          (75)          (75)           (75)           (75)           (75)           (75)           (75)           (75)          (75)
                                        Misc Expense                                 (100)          (100)          (100)         (100)         (100)         (100)          (100)          (100)          (100)          (100)          (100)          (100)         (100)
                                       US Trustee Fee                                                                                                                    (24,587)
                                   State Income Tax                 (456)                                                                    (1,000)
                                       G&A Expenses             (143,971)           (1,425)        (1,625)      (11,277)       (2,723)       (2,425)       (1,625)       (39,864)        (2,723)        (1,425)        (1,625)       (14,875)        (3,125)       (1,425)

                                     Interest Expense               (300)

                                          Ending Cash           377,614           276,337        200,472        240,256       364,208       463,056       562,406       597,520        670,284         744,155        817,635        851,973        948,677     1,021,784




                                            Advances              12.23%           10.53%         10.38%          9.24%         8.75%         8.32%         8.11%          7.91%          7.95%          7.72%          7.49%          7.53%          7.00%         7.06%
                                          Repayments               9.39%            9.21%          9.34%          9.50%         9.78%         9.09%         8.90%          8.44%          8.48%          8.25%          8.02%          7.79%          7.81%         7.60%
